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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ASIAN AMERICANS ADVANCING
JUSTICE–ATLANTA; et al.,
                       Plaintiffs,

      v.                                  No. 1:21-cv-1333-JPB

Brad RAFFENSPERGER, in his
official capacity as the Georgia
Secretary of State; et al.,
                            Defendants,

REPUBLICAN NATIONAL
COMMITTEE; et al.,
           Intervenor-Defendants.

                 INTERVENORS’ REPLY IN SUPPORT
                   OF THEIR MOTION TO DISMISS
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                              INTRODUCTION
      To avoid duplicative briefing, Intervenors will limit this reply to Plain-

tiffs’ Anderson-Burdick claims. Replies are not “necessary” in this Court, L.R.

7.1(C), and Plaintiffs’ other claims are addressed in Intervenors’ opening

briefs, the relevant parts of the State’s briefs, and Intervenors’ replies in the

related cases. See, e.g., Intvrs.’ Reply in AME (addressing absentee voting);

Intvrs.’ Reply in NAACP (addressing §2 and intentional discrimination);

Intvrs.’ Reply in NGP (addressing the First Amendment). Intervenors join and

incorporate all those arguments. As for Anderson-Burdick, Plaintiffs’ attempts
to rehabilitate their legally defective allegations are unpersuasive. This Court

should dismiss Count III with prejudice (as well as Count III in AME, Count I

in NGP, Count III in NAACP, and Count IV in CBC).
                                 ARGUMENT
      Idiosyncratic burdens that do not affect voters categorically do
      not implicate the constitutional right to vote.
      Anderson-Burdick is a balancing test: When it applies, courts weigh the
burdens on voting rights against the State’s interests. But as Intervenors ex-

plained, not all “burdens” count as burdens under Anderson-Burdick. Burdens

based on the peculiar circumstances of individual voters, rather than voters as
a category, are not relevant. See Mot. (Doc. 54-1) 5-8. Plaintiffs’ responses to

this basic legal point are unpersuasive.

      Intervenors’ argument about what burdens count under Anderson-Bur-
dick can and should be resolved on a motion to dismiss. Cf. Opp. (Doc. 58) 17.

While courts “must evaluate laws that burden voting rights using the approach


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of Anderson and Burdick,” courts “‘have to identify a burden before [they] can
weigh it.’” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1261 (11th Cir. 2020)

(emphasis added; quoting Crawford v. Marion Cty. Election Bd., 553 U.S. 181,

205 (2008) (Scalia, J., concurring in the judgment)). If Intervenors are right

that noncategorical burdens are legally irrelevant, then this Court has nothing

to weigh under Anderson-Burdick. SB 202 should be upheld under rational-

basis review.

      Intervenors recently won this dispute in League of Women Voters of Min-

nesota Educ. Fund v. Simon—a case that Plaintiffs neither cite nor attempt to
distinguish. As that court explained, Intervenors’ “purely legal” challenge

“does not require weighing the burdens and benefits of [the challenged election

law] under Anderson-Burdick.” 2021 WL 1175234, at *7 (D. Minn. Mar. 29). A
constitutional right-to-vote claim is simply “not plausible if it is based only on

burdens tied to the peculiar circumstances of individual voters.” Id. at *8; ac-

cord Comm. to Impose Term Limits (etc.) v. Ohio Ballot Bd., 885 F.3d 443, 448
(6th Cir. 2018) (“Although the Anderson-Burdick test can at times be fact in-

tensive,” dismissal is appropriate “where the plaintiffs’ arguments fail[] as a

matter of law.”).
      Indeed, Plaintiffs concede that they allege only noncategorical burdens

on certain voters. See Opp. 9, 12, 14, 17. Even if they had tried to allege more,

they could not plausibly allege that SB 202’s routine requirements impose bur-
dens on most voters. While Plaintiffs insist that their allegations are different

because they allege special burdens “on the basis of race,” Opp. 16 n.3,



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Plaintiffs are conflating their right-to-vote claim with their racial-discrimina-
tion claim. If a plaintiff can plausibly plead intentional discrimination, then an

election law can be invalidated on that ground. “But this scrutiny would come

from the Fourteenth Amendment’s Equal Protection Clause.” Tully v. Okeson,

977 F.3d 608, 614 (7th Cir. 2020), cert. denied, 2021 WL 2519129 (U.S. June

21). “It would not come from” the constitutional “right to vote.” Id.

      Having conceded that their allegations fail the categorical approach ar-

ticulated by Justices Scalia, Thomas, and Alito in Crawford, Plaintiffs insist

that the categorical approach is “non-precedential,” “novel,” and inconsistent
with governing law. Opp. 14-17. They are incorrect. The lead opinion in Craw-

ford—itself written for only three Justices—“neither rejects nor embraces” the

categorical approach. Crawford, 553 U.S. at 208 (Scalia, J., concurring in the
judgment); accord League of Women Voters of Minn., 2021 WL 1175234, at *7

(noting that, if Justice Stevens’ opinion disagreed with Justice Scalia’s, the dis-

agreement was “not obvious” or “explicit”). The lead opinion did not embrace
“the idea of measuring the burden on a subset of voters”; it “refrained from

weighing the ‘special burden’ faced by ‘a small number of voters’ because the

evidence on the record … made it impossible.” Ne. Ohio Coal. for the Homeless
v. Husted, 837 F.3d 612, 631 (6th Cir. 2016) (emphasis added; quoting Craw-

ford, 553 U.S. at 200, 202 (op. of Stevens, J.)). The Eleventh Circuit did the

same in Common Cause/Georgia v. Billups, 554 F.3d 1340, 1354 (11th Cir.
2009). Intervenors’ position is thus an open question in this circuit, and several




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courts have resolved that question in Intervenors’ favor. See Mot. 8. This Court
should too.

      While Plaintiffs latch onto nonbinding opinions from other district

courts, they never dispute that the categorical approach follows directly from

first principles. The categorical approach comes from the binding majority

opinions that developed the Anderson-Burdick test in the first place. Mot. 6. It

also follows from the Constitution’s rejection of disparate-impact analysis and

its allocation of power over elections to state legislatures. Mot. 7. Idiosyncratic

burdens might be enough to confer Article III standing on a particular plaintiff.
But those burdens cannot be enough to trigger a full-blown balancing analysis

for every election law, or else it would allow “a political question—whether a

rule is beneficial, on balance—to be treated as a constitutional question and
resolved by the courts rather than by legislators.” Luft v. Evers, 963 F.3d 665,

671 (7th Cir. 2020). And courts’ “Fourteenth Amendment analysis of voting

laws would risk collapsing into a standing analysis.” Richardson v. Tex. Sec’y
of State, 978 F.3d 220, 236 n.33 (5th Cir. 2020). Either conclusion “flouts” the

entire point of the Anderson-Burdick line of cases—decisions that told courts

not to invalidate the vast majority of state election laws. Id.
      That the judiciary should not scrutinize every election law “may seem

counterintuitive” to plaintiffs who are used to asking federal courts to “usurp[]

the authority of state legislatures to regulate elections,” but “it should not.”
Jacobson, 974 F.3d at 1269. “Our founding charter never contemplated that

federal courts would dictate the manner of conducting elections.” Id. The



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proper categorical approach to Anderson-Burdick honors that principle, comes
from binding Supreme Court precedents, and should be adopted here. It dis-

poses of Plaintiffs’ constitutional right-to-vote claims.

                                CONCLUSION
      This Court should dismiss Plaintiffs’ amended complaint with prejudice.

                                            Respectfully submitted,

      Dated: August 9, 2021                 /s/ Tyler R. Green

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                     CERTIFICATE OF COMPLIANCE
      I certify that this document complies with Local Rule 5.1(B) because it
uses 13-point Century Schoolbook.

                                            /s/ Tyler R. Green

                        CERTIFICATE OF SERVICE
      On August 9, 2021, I e-filed this document on ECF, which will serve eve-

ryone requiring service.
                                            /s/ Tyler R. Green


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